        Case 19-34574-KRH                  Doc 1966-1 Filed 08/22/23 Entered 08/22/23    13:56:16
                                                                                Schedule A
                                                                                                               Desc
                                             Exhibit(s) Schedule A Page 1 of 4
                                                         Page White Farrer Limited
    Matrix One Riverfront Plaza LLC
                                                       Bedford House, 21 John Street
        CN 4000 Forsgate Drive                                                                  Office of the United States
                                                       Holborn, London WC1N 2BF
           Cranbury, NJ 08512                                                                 Trustee 701 East Broad Street,
                                                              United Kingdom
      farias@matrixcompanies.com                                                             Suite 4304 Richmond, VA 23219
                                                       david.roberts@pagewhite.com
   jbombardo@matrixcompanies.com                                                             kathryn.montgomery@usdoj.gov
                                                       james.smith@pagewhite.com
                                                                                              shannon.pecoraro@usdoj.gov

          Super-Server, LLC
    707 East Main Street, Suite 1425                                                                 Tyler  P.    Brown
      Richmond, Virginia 23219                              Thomson West-6292                  Hunton Andrews Kurth LLP
       cjohnson@proxios.com                                     P.O. Box 629                      951 East Byrd Street
       kcrowley@clrbfirm.com                            Carol Stream, IL 60197-6292             Richmond, VA 23219
       pbutler@proxios.com                                                                      tpbrown@huntonak.com



                                                                                                  Jason William Harbour
      GLC Business Services, Inc.
                                                   Post Oak Realty Investment Partners, LP     Hunton Andrews Kurth LLP
          28 Prince Street
                                                        13355 Noel Road, 22nd Floor                951 East Byrd Street
        Rochester, NY 14607
                                                             Dallas, TX 75240                      Richmond, VA 23219
        mhayes@glcbs.com
                                                                                                jharbour@huntonAK.com



  Thomson Reuters Master Data Center                                                            Henry Pollard Long, III
                                                    Poe & Cronk Real Estate Group, Inc.
             P.O. Box 673451                                                                   Hunton Andrews Kurth LLP
                                                      10 S Jefferson Street, Suite 1200
          Detroit, MI 48267-3451                                                                  951 East Byrd Street
                                                            Roanoke, VA 24011
   cristina.romualdez@thomsonreuters.com                                                          Richmond, VA 23219
                                                         slawrence@poecronk.com
                                                                                                 hlong@huntonAK.com


                                                        BPP Lower Office REIT Inc.
                                                                                                 Jennifer Ellen Wuebker
       Carlyle Overlook JV, LLC                         BPP Connecticut Ave LLC –
                                                                                               Hunton Andrews Kurth LLP
             711 High Street                                 BLDG ID: 26870
                                                                                                  951 East Byrd Street
         Des Moines, IA 50392                                 P.O. Box 209259
                                                                                                  Richmond, VA 23219
       erin.albert@cushwake.com                            Austin, TX 78720-9259
                                                                                                jwuebker@huntonak.com
                                                    christopher.lyons@transwestern.com


                                                                                                    Douglas M. Foley
  BCal, LLC c/o Beacon Capital Partners                       EYP Realty LLC                    MCGUIREWOODS LLP
        200 State Street, 5th Floor                           P.O. Box 844801                        Gateway Plaza
           Boston, MA 02109                             Los Angeles, CA 90084-4801                800 East Canal Street
accountantmontgomery@avisonyoung.com                  james.ishibashi@brookfield.com            Richmond, Virginia 23219
                                                                                               dfoley@mcguirewoods.com


                                                                                                    Sarah B. Boehm
     Parmenter Realty Fund III, Inc.                    New Boston Long Wharf, LLC              MCGUIREWOODS LLP
    701 Brickell Avenue, Suite 2020                c/o The Corporation Trust Company, r/a            Gateway Plaza
           Miami, FL 33131                                   1209 Orange Street                   800 East Canal Street
         nreser@parmco.com                                 Wilmington, DE 19801                Richmond, Virginia 23219
                                                                                              sboehm@mcguirewoods.com


                                                                                                    Shawn R. Fox
                                                    Iron Mountain Records Management
       Latham & Watkins LLP                                                                    MCGUIREWOODS LLP
                                                               448 Broadway
         885 Third Avenue                                                                           Gateway Plaza
                                                           Ulster Park, NY 12487
      New York, NY 10022-4834                                                                    800 East Canal Street
                                                       noe.lebeau@ironmountain.com
         eric.pike@lw.com                                                                      Richmond, Virginia 23219
                                                      Bankruptcy2@ironmountain.com
                                                                                               sfox@mcguirewoods.com

                                                                                                  ULX Partners, LLC
                                                        NetRight Intermediate LLC              100 Broadway, 22nd Floor
         60 State TRS (DE) LLC
                                                              iManage LLC                      New York, New York 1005
       320 Park Avenue, Floor 17
                                                     540 W. Madison Street, Suite 2400              Nicholas Hinton
          New York, NY 10022
                                                            Chicago, IL 60661                        Daniel E. Reed
    ahillman@oxfordproperties.com
                                                          agreen@clarkhill.com               Nicholas.hinton@Unitedlex.com
                                                                                                Dan.reed@unitedlex.com

           ConvergeOne, Inc.
                                                                                                Karen M. Crowley, Esq.
           3344 Highway 149                        Integreon Managed Solutions (ND) Inc.
                                                                                                Crowley Liberatore P.C.
            Eagan, MN 55121                                3247 47th Street South
                                                                                               150 Boush Street, Suite 300
       esalley@convergeone.com                               Fargo, ND 58104
                                                                                                   Norfolk, VA 23510
    kyle.hosmer@faegredrinker.com                       Derek.drizin@integreon.com
                                                                                                kcrowley@clrbfirm.com
        Case 19-34574-KRH                Doc 1966-1 Filed 08/22/23 Entered 08/22/23 13:56:16                         Desc
                                           Exhibit(s) Schedule A Page 2 of 4
     Michael G. Gallerizzo, Esquire                                                                   David R. Ruby, Esquire
                                                        Parma Richmond, LLC
       Michael D. Nord, Esquire                                                                    William D. Prince IV, Esquire
                                                            c/o Kevin J. Funk
     GEBHARDT & SMITH LLP                                                                           ThompsonMcMullan, P.C.
                                                   Durrette Arkema Gerson & Gill PC
     One South Street, Suite 2200                                                                  100 Shockoe Slip, Third Floor
                                                   1111 East Main Street, 16th Floor
      Baltimore, Maryland 21202                                                                     Richmond, Virginia 23219
                                                       Richmond, Virginia 23219
        mgall@gebsmith.com                                                                              druby@t-mlaw.com
                                                          kfunk@dagglaw.com
        mnord@gebsmith.com                                                                            wprince@t-mlaw.com


          Amy Simon Klug                                   Joseph Corrigan                              JM Partners, LLC
     HOLLAND & KNIGHT LLP                        Iron Mountain Information Mgmt, LLC                   Attn: John Marshall
   1650 Tysons Boulevard, Suite 1700                      One Federal Street                       6800 Paragon Place, Suite 202
          Tysons, VA 22102                                Boston, MA 02110                          Richmond, VA 23230-1656
        amy.simon@hklaw.com                         Bankruptcy2@ironmountain.com                  JMarshall@JMPartnersLLC.com


                                                                                                        Peter D. Bilowz, Esq.
SAUL EWING ARNSTEIN & LEHR LLP                  SAUL EWING ARNSTEIN & LEHR LLP                        Douglas B. Rosner, Esq.
  Maria Ellena Chavez-Ruark, Esquire                    Robert C. Gill, Esquire                     GOULSTON & STORRS PC
    500 East Pratt Street, 9th Floor           1919 Pennsylvania Avenue, N.W., Suite 550                400 Atlantic Avenue
        Baltimore, MD 21202                          Washington, D.C. 20006-3434                      Boston, MA 02110-3333
        maria.ruark@saul.com                             robert.gill@saul.com                       pbilowz@goulstonstorrs.com
                                                                                                    drosner@goulstonstorrs.com
           David G. Barger
         Thomas J. McKee, Jr.                              Paul A. Driscoll
                                                        Zemanian Law Group                        Robert H. Chappell III, Esquire
        Greenberg Traurig, LLP                                                                          SPOTTS FAIN PC
   1750 Tysons Boulevard, Suite 1000                  223 East City Hall Avenue,
                                                               Suite 201                         411 East Franklin Street, Suite 600
        McLean, Virginia 22102                                                                      Richmond, Virginia 23219
         bargerd@gtlaw.com                             Norfolk, Virginia 23510
                                                       paul@zemanianlaw.com                          rchappell@spottsfain.com
          mckeet@gtlaw.com


       Jennifer J. West, Esquire                      Neil E. McCullagh, Esquire                    Karl A. Moses, Jr., Esquire
          SPOTTS FAIN PC                                  SPOTTS FAIN PC                                SPOTTS FAIN PC
   411 East Franklin Street, Suite 600             411 East Franklin Street, Suite 600           411 East Franklin Street, Suite 600
      Richmond, Virginia 23219                         Richmond, Virginia 23219                     Richmond, Virginia 23219
        jwest@spottsfain.com                          nmccullagh@spottsfain.com                       kmoses@spottsfain.com



       Michael G. Wilson, Esq.                           Cynthia L. Hegarty                          Shawn C. Whittaker, Esq.
       MICHAEL WILSON PLC                             MORRISON SUND, PLLC                              Whittaker|Myers, PC
            PO Box 6330                            5125 County Road 101, Suite 200                 1010 Rockville Pike, Suite 607
        Glen Allen, VA 23058                           Minnetonka, MN 55345                            Rockville, MD 20852
       mike@mgwilsonlaw.com                          chegarty@morrisonsund.com                      Shawn@whittakermyers.com


                                                       Joshua D. Stiff, Esquire
        Nicola G. Suglia, Esquire
                                                      Grayson T. Orsini, Esquire                    Alexander R. Green, Esquire
   Fleischer, Fleischer & Suglia, P.C.
                                                    WOLCOTT RIVERS GATES                                CLARK HILL, PLC
         Four Greentree Centre
                                                     200 Bendix Road, Suite 300               1001 Pennsylvania Ave NW, STE 1300 S
       601 Route 73 N., Suite 305
                                                    Virginia Beach, Virginia 23452                   Washington, D.C. 20004
           Marlton, NJ 08053
                                                          jstiff@wolriv.com                            agreen@clarkhill.com
       consult@fleischerlaw.com
                                                         gorsini@wolriv.com

                                                              Amy Wiekel
      Bank Direct Capital Finance                                                                        Linda Georgiadis
                                                   Commonwealth of Pennsylvania
            c/o Kevin J. Funk                                                                         c/o Ronald A. Page, Jr.
                                                   Department of Labor and Industry
   Durrette Arkema Gerson & Gill PC                                                                      Ronald Page, PLC
                                                       Collections Support Unit
   1111 East Main Street, 16th Floor                                                                      P.O. Box 73087
                                                      651 Boas Street, Room 925
       Richmond, Virginia 23219                                                                      N. Chesterfield, VA 23235
                                                         Harrisburg, PA 17121
          kfunk@dagglaw.com                                                                            rpage@rpagelaw.com
                                                    Ra-li-ucts-bankrupt@state.pa.us

              Harris County                                Latonya Mallory                           Lynn L. Tavenner, Trustee
           c/o John P. Dillman                            c/o Robert T. Hall                          c/o Paula S. Beran, Esq.
Linebarger Goggan Blair & Sampson, LLP                    Hall & Sethi, P.L.C                         Tavenner & Beran, PLC
               Po Box 3064                        11260 Roger Bacon Drive, Suite 400                 20 N. 8th Street, 2nd Floor
        Houston, TX 77253-3064                            Reston, VA 20190                             Richmond, VA 23219
   houston_bankruptcy@publicans.com                    rthall@hallandsethi.com                        pberan@tb-lawfirm.com

        Wilmington Trust, N.A.                                                             Creative Office Environments of Richmond, LLC
                                                       First Legal Network, LLC
         Kelly Rae Gring, Esq.                                                                       c/o William A. Gray, Esquire
                                                        c/o Ronald A. Page, Jr.
      Tromberg Law Group, LLC                                                                            William Gray, PLLC
                                                           Ronald Page, PLC
      413 Stuart Circle, Suite 314                                                                       2605 Kensington Ave
                                                             P.O. Box 73087
         Richmond, VA 23220                                                                              Richmond, VA 23220
                                                       N. Chesterfield, VA 23235
    ecfva@tromberglawgroup.com                                                                          graybklaw@gmail.com
                                                         rpage@rpagelaw.com
    kgring@tromberglawgroup.com
          Case 19-34574-KRH                    Doc 1966-1 Filed 08/22/23 Entered 08/22/23 13:56:16                       Desc
                                                 Exhibit(s) Schedule A Page 3 of 4

                                                           William A. Broscious, Esquire                 J. Scott Sexton, Esquire
             Paul M. Nussbaum, Esq.                      William A. Broscious, Esq., PLC              Andrew M. Bowman, Esquire
     WHITEFORD, TAYLOR & PRESTON LLP                              P.O. Box 71180                              Gentry Locke
               7 Saint Paul Street                            Henrico, Virginia 23255                        P.O. Box 40013
         Baltimore, MD 21202                          wbroscious@brosciouslaw.com                      Roanoke, Virginia 24002
       pnussbaum@wtplaw.com                                                                            sexton@gentrylocke.com
                                                                                                        bowman@gentrylocke.com
        Erika L. Morabito, Esq.
            Quinn Emanuel                                                                                 Dion W. Hayes, Esq.
                                                             Bradford F. Englander
     1300 I Street, N.W., Suite 900                                                                       McGuireWoods LLP
                                                       Whiteford Taylor & Preston, LLP
        Washington, DC 20005                                                                                 Gateway Plaza
                                                       3190 Fairview Park Drive, Suite 800
  erikamorabito@quinnemanuel.com                                                                          800 East Canal Street
                                                              Falls Church, Virginia 22042
                                                                                                       Richmond, VA 23219-3916
                                                              benglander@wtplaw.com
                                                                                                       dhayes@mcquirewoods.com

       Jeffrey M. Orenstein, Member                           Ronald S. Canter, Esq
          Wolff & Orenstein, LLC                                                                      Franklin R. Cragle, III, Esquire
                                                               Bradley Canter, Esq
             Shady Grove Plaza                                                                             Hirschler Fleischer
                                                                200A Monroe Street, Suite 104
         15245 Shady Grove Road                                 Rockville, MD 20850
                 Suite 465                                                                           2100 East Cary Street Richmond,
                                                                bcanter@roncanterllc.com                     VA 23223-7078
        Rockville, Maryland 20850                               rcanter@roncanterllc.com
       JOrenstein@wolawgroup.com                                                                        fcragle@hirschlerlaw.com




           Jed Donaldson, Esq.                                Paul A. Driscoll, Esq.                     Brandon R. Jordan, Esq
              LimNexus LLP                                    Zemanian Law Group                Robertson, Anschutz, Schneid & Crane LLC
   1050 Connecticut Ave. NW, Suite 500                        223 E. City Hall Ave.,                 11900 Parklawn Drive, Suite 310
             Washington, DC                                   Suite 201Norfolk, VA                         Rockville, MD 20852
                  20036                                               23510                                 bjordan@raslg.com
          jed.donaldson@limnex                               paul@zemanianlaw.com
                  us.com


         Richard C. Maxwell, Esq.                           Roy M. Terry, Jr., Esq.
            Woods Rogers PLC                               The Terry Law Firm PLLC                      Lori D. Thompson, Esq.
     10 S. Jefferson Street, Suite 1800                    2711 Buford Rd., Ste 170                    Spilman Thomas & Battle,
Roanoke, VA 24011 rmaxwell@woodsrogers.com                North Chesterfield, VA 23235                           PLLC
                                                             roymterry@gmail.com                      LThompson@spilmanlaw.com

                                                                Darek S. Bushnaq
       Robert S. Westermann, Esq.                             Frederick W.H. Carter                         Michael E. Hastings, Esq
       Hirschler Fleischer, P.C.                                  Venable LLP                                 Woods Rogers, PLC
        2100 East Cary Street                              750 E. Pratt Street, Suite 900                  10 S. Jefferson Street, 1800
        Richmond, Virginia 23223                           Baltimore, Maryland 21202                          Roanoke, VA 24011
       rwestermann@hirschlerlaw.com                         dsbushnaq@venable.com                         Mhastings@woodsrogers.com
                                                             fwcarter@venable.com


                                                             Jaime Walker Luse                           Jonathan L. Hauser
                Susan Poll Klaessy                           Tydings & Rosenberg                         JONATHAN L. HAUSER, ESQ.
               Foley & Lardner LLP                           One East Pratt Street,                      929 Bobolink Dr.
 321 N. Clark Street, Suite 3000 Chicago, IL 60654           Suite 901                                   Virginia Beach, VA 23451
             spollklaessy@foley.com                          Baltimore, MD 21202                         jhauser929@gmail.com
                                                             jluse@tydings.com
                                                                                                         A. Lee Hogewood III
       John McJunkin                                        Daniel Carrigan                              K&L Gates LLP
       BAKER DONELSON                                       BAKER DONELSON                               P.O. Box 17047
       901 K Street, NW, Suite 900                          901 K Street, NW, Suite 900                  Raleigh, North Carolina 27619
       Washington, DC 20001                                 Washington, DC 20001                         lee.hogewood@klgates.com
       jmcjunkin@bakerdonelson.com                          dcarrigan@bakerdonelson.com



                                                            Diana Lyn Curtis McGraw                      James C. Cosby
    Warren A. Usatine                                       Fox Rothschild LLP                           O’Hagan Meyer
    25 Main Street                                          2020 K Street, N.W.                          411 E. Franklin, Suite 500
    Hackensack, NJ 07601                                    Suite 500                                    Richmond VA 23219
    wusatine@coleschotz.com                                 Washington, D.C. 20006                       jcosby@ohaganmeyer.com
                                                            DMcGraw@foxrothschild.com
     Case 19-34574-KRH            Doc 1966-1 Filed 08/22/23 Entered 08/22/23 13:56:16           Desc
                                    Exhibit(s) Schedule A Page 4 of 4




                                                Post Oak Realty Investment          Thomson Reuters Master
        Thomson West-6292                              Partners, LP                         Data Center
            P.O. Box 629                       13355 Noel Road, 22nd Floor              P.O. Box 673451
    Carol Stream, IL 60197-6292                      Dallas, TX 75240              Detroit, MI 48267-3451



      New Boston Long Wharf,                       Mikro Systems, Inc.                ConvergeOne, Inc.
                LLC                             Julie Melampy, Controller             3344 Highway 149
      c/o The Corporation Trust               1180 Seminole Trail, Suite 220          Eagan, MN 55121
            Company, r/a                        Charlottesville, VA 22901
         1209 Orange Street
       Wilmington, DE 19801

    Networking Technologies &                 Brittany B. Falabella, Esq.
           Support, Inc.                      Hirschler Fleischer, P.C.
         Bernard Robinson                      2100 East Cary Street
        14421 Justice Road                     Richmond, Virginia 23223
      Midlothian, VA 23113                    bfalabella@hirschlerlaw.com


                                             Thomas M. Wolf
    Christopher Perkins
                                             twolf@ohaganmeyer.com
    Eckert Seamans
    919 E. Main St., Suite 1300
    Richmond VA 23219
    cperkins@eckertseamans.com


                                             Kimberly Gianis
        Bradford Capital                     KBG Consulting LLC
          PO Box 4353                        Kbgconsultingllc@gmail.com
        Clifton, NJ 07012
bbrager@bradfordcapitalmgmt.com


Jacqueline M. Price                       Philip T. "Pete" Evans, Esq.
Hackett Feinberg P.C.                     Holland & Knight
155 Federal Street, 9th Floor             800 17th Street N.W., Suite 1100
Boston, MA 02110                          Washington, District of Columbia 20006
JMP@bostonbusinesslaw.com                 philip.evans@hklaw.com
